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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

                                                      )
   STATE OF NEW JERSEY,                               )
                                                      )
                   Plaintiff,                         )
                                                      )
           v.                                         )
                                                      )
   UNITED STATES DEPARTMENT OF                        )    No. 23-3885
   TRANSPORTATION, et al.,                            )    Hon. Brian R. Martinotti
                                                      )
                   Defendants,                        )
                                                      )
            and                                       )
                                                      )
   METROPOLITAN TRANSIT AUTHORITY, et                 )
   al.,                                               )
                                                      )
                   Defendant-Intervenor.              )
                                                      )


                                DECLARATION OF MONICA PAVLIK


  I, MONICA PAVLIK, pursuant to 28 U.S.C. § 1746, declare as follows:

  1.      I am over the age of 18 years. I am competent to testify to, and have personal knowledge

  of, the matters set forth herein.

  2.      I am a resident of Boulder, Colorado, and my business address is 12300 W. Dakota Ave.,

  Lakewood, CO 80228.

  3.      I am currently Specially Designated Project Oversight Manager (sdPOM) with the

  Federal Highway Administration (FHWA) New York Division and have served in this capacity

  since December of 2021.
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  4.     I started with the FHWA in November 2002. In April 2016, I became the sdPOM for

  FHWA Major Projects. I currently cover FHWA Major Projects in Colorado, Oregon,

  Washington, Arizona, and New York.

  5.     As sdPOM my responsibilities include assisting the New York State Department of

  Transportation (NYSDOT), New York City Department of Transportation (NYCDOT) and the

  Triborough Bridge and Tunnel Authority (TBTA), an affiliate of the Metropolitan Transportation

  Authority (MTA) in the development of the Central Business District Tolling Program (the

  Project) in compliance with the National Environmental Policy Act (NEPA), Clean Air Act

  (CAA), Council of Environmental Quality (CEQ) Guidelines, and FHWA Directives relating to

  social, economic, and environmental effects of proposed projects.

  6.     As sdPOM, I am familiar with the Central Business District Tolling Program, which is

  the subject of the above-referenced lawsuit.

  7.     As sdPOM, my responsibilities include oversight responsibility associated with the

  preparation of the Final Environmental Assessment (EA) and Finding of No Significant Impact

  (FONSI) for the Project, which were published on May 12, 2023 and June 23, 2023, respectively.

  Specifically, I oversaw the development of various technical documents and studies as part of the

  NEPA process.

  8.     In my capacity as sdPOM, I also oversaw the coordination and compilation of the FHWA

  administrative record for the Project. I coordinated an FHWA-wide search to locate, evaluate,

  and identify documents upon which the FHWA decision-maker directly or indirectly considered

  in evaluating the Central Business District Tolling Program Project under NEPA and CAA.
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  9.      To the best of my knowledge, the administrative record contains the documents

  considered directly or indirectly by the FHWA decision-maker in connection with FHWA’s

  action in this Project.

  10.     To the best of my knowledge and based on my personal involvement in compiling the

  administrative record, the supplemental index, attached hereto as Exhibit 1, and record

  documents lodged with the Court and served on Counsel of Record in this matter constitute a

  true, correct, and complete copy of the administrative record for the Project. Those documents

  added to the record are identified in the index starting at document DOT 0044868.

  11.     To the best of my knowledge, each document contained in the administrative record is a

  true and correct copy of the original document located in the files of the FHWA.



  Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

  correct to the best of my knowledge.

  Executed this 6th day of December, 2023


                                         MONICA C PAVLIK Digitally signed by MONICA C PAVLIK
                                                         Date: 2023.12.06 11:41:31 -07'00'
                                         ____________________________________
                                         Monica Pavlik
